255 F.2d 272
    Beatrice JAFFE, Plaintiff-Appellant,v.UNITED STATES of America, Defendant-Appellee.
    No. 196.
    Docket 24810.
    United States Court of Appeals Second Circuit.
    Argued March 11, 1958.
    Decided April 7, 1958.
    
      Leon Port, New York City, for plaintiff-Appellant.
      Amos J. Peaslee, Jr., Asst. U. S. Atty., S.D.N.Y., New York City (Paul W. Williams, U. S. Atty., and John A. Guzzetta, Asst. U. S. Atty., New York City, on the brief), for defendant-appellee.
      Before CLARK, Chief Judge, L. HAND, Circuit Judge, and BRENNAN, District Judge.
      PER CURIAM.
    
    
      1
      Plaintiff appeals from a decision denying her recovery under 38 U.S.C. § 802 (c) (3) on a National Service Life Insurance policy on the life of her husband, Hyman Jaffe, because she failed to prove that he was totally and permanently disabled when discharged from service in 1945 or that there was any causal connection between his disability and any ailment he suffered while on active duty. In so finding Judge Dimock carefully analyzed the extensive evidence, including, inter alia, a considerable and rather steady work record of the deceased for the seven years between his discharge from the Army and his death in 1952. Judge Dimock's findings are far from clearly erroneous, and we are content to affirm on his careful opinion, D.C.S.D. N.Y., 161 F.Supp. 910.
    
    
      2
      Affirmed.
    
    